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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                  2u\2 ~'A'{ - i PH \: Oi
UNITED STATES OF AMERICA,                    CASE NO.

                        aintiff,
               vs.

MARIA VASQUES-ZALASAR (2),

                      Defendant.


          IT APPEARING that the defendant is now ent             led to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense{s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is               reby discharged.


DATED: MAY 1, 2012
                                             Nita L. Stormes
                                             U.s. Magistrate Judge
